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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
                                                  )
 LIONELL MARTIN,                                  )
                                                  )
                                 Plaintiff,       )    18 C 5295
          v.                                      )
                                                  )    Hon. Virginia M. Kendall
 TRANS UNION LLC,                                 )
                                                  )
                                Defendant.        )
                                                  )

                                               ORDER

       For the reasons stated below, the Court grants Plaintiff’s application for leave to proceed
in forma pauperis (Dkt. 3) and denies Plaintiff’s motion for attorney representation (Dkt. 4) at this
time.

                                              STATEMENT

        Plaintiff Lionell Martin filed a pro se action against Defendant Trans Union LLC alleging
Defendant violated the Fair Credit Reporting Act. (Dkt. No. 1.) Plaintiff also filed an application
for leave to proceed in forma pauperis (Dkt. No. 4) and a request for attorney representation (Dkt.
No. 5).

I.     Plaintiff’s Application for Leave to Proceed In Forma Pauperis

        Title 28 U.S.C. § 1915(a) permits the Court to authorize Plaintiff to proceed in forma
pauperis if he is unable to pay the mandated filing fee. The statute “is designed to ensure that
indigent litigants have meaningful access to the federal courts.” Neitzke v. Williams, 490 U.S. 319,
324 (1989). Plaintiff is eligible to proceed in forma pauperis if paying the filing fee would prevent
him from purchasing the necessities of life. Zaun v. Dobbin, 628 F.2d 990, 992 (7th Cir. 1980).
Plaintiff represents in his affidavit that he is not married and is not employed. (Dkt. 4). Plaintiff
has not been employed for more than two years, since October 2016 at which time he worked for
the City of Chicago earning an annual salary of $68,000. (Dkt. 4). Plaintiff owns his current home
worth $47,000 but represents that neither he nor anyone living at his residence has $200 in cash or
in a checking or savings accounts or owns any other real estate or personal property worth more
than $1,000. (Id.). The only income Plaintiff has received in the past twelve months is $2,240 in
SNAPP benefits. (Id.). Plaintiff represents that he contributes $475 per month to a dependent,
Chase Martin. (Id.). The Court finds Plaintiff has sufficiently demonstrated that he is indigent
and unable to pay the fee and, therefore, grants Plaintiff's application for in forma pauperis status.

       Title 28 U.S.C. § 1915(e)(2) also requires the Court to screen Plaintiff’s complaint, and to
dismiss the complaint if the Court determines the action is “frivolous or malicious; fails to state a
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claim on which relief may be granted; or seeks monetary relief against a defendant who is immune
from such relief.” Courts reviewing complaints under § 1915(e)(2) apply the same standard used
for dismissals under Rule 12(b)(6). Coleman v. Labor & Indus. Review Comm’n of Wis., 860 F.3d
461, 468 (7th Cir. 2017), cert. denied, 138 S. Ct. 739 (2018); Arnett v. Webster, 658 F.3d 742, 751
(7th Cir. 2011). The complaint must include “a short and plain statement of the claim showing
that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); see also Ashcroft v. Iqbal, 556 U.S
602, 678 (2009). The statement must “give the defendant ‘fair notice of what the . . . claim is and
the grounds upon which it rests,’” E.E.O.C. v. Concentra Health Servs., Inc., 496 F.3d 773, 776
(7th Cir. 2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, (2007)). However, the
Court must “construe pro se complaints liberally and hold them to a less stringent standard than
formal pleadings drafted by lawyers.” Arnett, 658 F.3d at 751.

        The False Credit Reporting Act (FCRA), 15 U.S.C. § 1681 et seq., imposes various duties
on consumer reporting agencies, including to conduct a reasonable investigation into any dispute
raised by a consumer as to the completeness or accuracy of information in the consumer’s file. Id.
at § 1681i(a). Specifically, the statute requires that the credit reporting agency “conduct a
reasonable reinvestigation to determine whether the disputed information is inaccurate and record
the current status of the disputed information or delete the item from the file” within 30 days of
receiving notification of the dispute from the consumer. Id. at § 1681i(a)(1); see also Ruffin-
Thompkins v. Experian Info. Sols., Inc., 422 F.3d 603, 607 (7th Cir. 2005) (“Once a consumer
report exists, the FCRA triggers various duties on the part of a reporting agency, including the
obligation to reinvestigate when a consumer contends that her consumer report is inaccurate or
incomplete.”) (internal quotations omitted). The credit reporting agency must then provide the
consumer with written notice of the results of the reinvestigation no later than 5 business days after
its completion, including a revised consumer report and, if requested, a description of the
procedure used to determine the accuracy or completeness of the information. Id. at § 1681i(a)(6).
Plaintiff may collect actual damages, costs and fees for a negligent violation of any duty imposed
by the FCRA, see id. at § 1681o, and may collect punitive damages for a willful violation of such
duties. See id. at § 1681n; see also Ruffin-Thompkins, 422 F.3d at 607. Finally, to succeed on a
claim that Defendant violated § 1681i(a) of the FCRA, Plaintiff must show that he “suffered
damages as a result of the inaccurate information.” Ruffin-Thompkins, 422 F.3d at 608 (quoting
Sarver v. Experian Info. Solutions, 390 F.3d 969, 971 (7th Cir.2004); see also Crabill v. Trans
Union, L.L.C., 259 F.3d 662, 664 (7th Cir.2001) (“Without a causal relation between the violation
of the statute and the loss of credit, or some other harm, a plaintiff cannot obtain an award of
‘actual damages.’”) (internal citation omitted).

        Here, Plaintiff adequately alleged a claim under the FCRA. Plaintiff alleges that Defendant
Trans Union reported false information that was derogatory and damaging to his credit worthiness
and that he made at least two requests related to this false reporting. (Dkt. 4). Plaintiff claims that
he submitted the first request on May 15, 2018, requesting that Trans Union investigate his concern
and provide him with documentation outlining the accuracy of the reports that he owed certain
creditors. (Id.). He claims further that after Trans Union failed to honor his request, he submitted
a demand letter on June 22, 2018, demanding again that they provide him the requested
information. (Id.). Plaintiff alleges that Trans Union failed to provide the requested information
to him within 30 days as required by law. (Id.). He seeks $7,500 in damages and an order requiring
Trans Union to remove the false items from his credit report. (Id.). Plaintiff identifies six accounts
that he claims were the subject of the alleged false reporting. (Id.). Therefore, Plaintiff has
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adequately alleged that he twice notified Trans Union of a dispute as to information in his credit
report and that Trans Union failed to conduct an investigation, to remove the false information
from his credit report, or to provide any written notice of the results of an investigation within the
time required by the statute. Plaintiff also adequately alleged that he suffered actual damages in
claiming that the false information was “damaging to [his] credit worthiness.” (Id.)

II.     Plaintiff’s Request for Attorney Representation

        Under 28 U.S.C. § 1915(e)(1), the Court has discretion to request that an attorney represent
an indigent litigant on a volunteer basis. In considering Plaintiff’s request for attorney
representation, the Court must ask two questions: “(1) [H]as the indigent plaintiff made a
reasonable attempt to obtain counsel or been effectively precluded from doing so; and if so, (2)
given the difficulty of the case, does the plaintiff appear competent to litigate it himself?”
Armstrong v. Krupiczowicz, 874 F.3d 1004, 1008 (7th Cir. 2017) (quoting Pruitt v. Mote, 503 F.3d
647, 654 (7th Cir. 2007) (en banc)); see also Bracey v. Grondin, 712 F.3d 1012, 1016 (7th Cir.
2013) (“Importantly, the district court must consider both halves of this equation—the difficulty
of the case and the competence of the litigant.”). In his application for attorney representation,
Plaintiff indicates that he has attempted to obtain counsel from Veteran Legal Assistance but fails
to provide the reason this attempt was unsuccessful, as required on the form. (Dkt. 5). Plaintiff
also failed to complete question 5 which asks for his highest level of education. (Id.). Regardless,
at this stage, the Court finds that Plaintiff’s case as filed is straightforward, does not present
complex issues of law and should not present complex issues during discovery. In fact, Plaintiff
demonstrates in his Complaint that he understands the law applicable to his claim and even
identifies some of the discovery he seeks. (See Dkt. 4). Therefore, the Court denies Plaintiff’s
application for attorney representation (Dkt. 4) at this time.

III.    Plaintiff’s Possibly Related Actions

        Finally, the Court notes that Defendant filed two other civil lawsuits in this district on the
same day that he filed this case. See Martin v. Equifax, No. 18 C 5287 (Ellis, J.); Martin v.
Experian, No. 18 C 5298 (Leinenweber, J.). The complaints filed in the cases before Judge Ellis
and Judge Leinenweber are virtually identical to the complaint filed here, except that they are
against different named defendants and list = one or two additional disputed accounts. See id. If
the three actions are based on the same disputed debts, the parties should consider whether they
should be consolidated in a single proceeding under one case number going forward.




                                               ____________________________________
                                               Hon, Virginia M. Kendall
                                               United States District Judge
Date: August 29, 2018
